EXHIBIT P
                                                     THE HONORABLE TANA LIN
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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8
     PACIFIC WATER TECHNOLOGY               No. 2:24-cv-01164-TL
 9   LLC et al.,
                                            JOINT MOTION TO REMAND
10               Plaintiff(s),
                                            NOTING DATE: TO BE DETERMINED
11               v.                         PURSUANT TO 11 U.S.C. § 362(a)(1)
12   RYAN R WEAR et al.,
13               Defendant(s).
14

15         THE UNDERSIGNED PARTIES HEREBY SUBMIT THIS JOINT MOTION
16   TO REMAND WITH A “TO BE DETERMINED” HEARING DATE IN
17   OBSERVANCE OF THE AUTOMATIC STAY UNDER 11 U.S.C. § 362(a)(1), AND
18   CONTROLLING NINTH CIRCUIT CASE LAW REGARDING REMOVAL AND
19   REMAND PROCEDURES IN THE CONTEXT OF A BANKRUPTCY STAY, TO
20   ENSURE THEY HAVE PRESERVED THEIR RIGHTS TO REMAND UNDER 28 U.S.
21   CODE § 1447 AND APPLICABLE LAW.
22         THE UNDERSIGNED PARTIES SHALL NOTE THIS REQUEST FOR
23   HEARING UPON THE EARLIER OF (1) AN ORDER BY THE BANKRUPTCY
24   COURT GRANTING THE UNDERSIGNED PARTIES RELIEF FROM STAY TO
25   SEEK REMAND OR (2) FURTHER DIRECTION BY THIS COURT.

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 1                                                      STIPULATION

 2             1.        Plaintiffs in this action (the “Pacific Parties”), by and through their undersigned

 3   counsel, Defendants Kevin and Elizabeth Nooney, by and through their undersigned counsel,

 4   and Defendants Ryan Wear and Elizabeth Swain, in the state court action captioned as Pacific

 5   Water Technology, LLC et al v. Ryan Wear et al., Case No. 24-2-2887-31 (the “Pacific Parties

 6   Action”), by and through their undersigned counsel, respectfully submit this Joint Stipulation

 7   to Remand1:

 8             2.        On April 16, 2024, the Pacific Parties – who at that time consisted of just seven

 9   investors with alleged losses in excess of $15 million – brought this action in state court for

10   alleged violations of the Securities Act of Washington and other derivative state law violations

11   against WST. See April 16, 2024 Complaint, Pacific Parties Action. Bender Decl., Ex. 1. Pacific

12   Parties allege that they were induced to invest millions in what they were told were franchises

13   in WST’s growing and profitable network of purified water dispensary machines. Id. ¶¶54-64.

14   They contend that in reality these transactions – which consistent of multiple agreements

15   between them and WST and third parties, including banks such as UniBank and First Fed –

16   constituted securities under the state law test for investment contracts. RCW 21.20.010(17)(a)

17   (defining “security” under RCW 21.20 to include “investment contract”); Ex. 1 ¶70

18   (summarizing elements of alleged investment contract sold by Defendants). Defendants deny

19   liability and reserve any defenses to said allegations.

20             3.        On April 26 2024, Pacific Parties obtained a Temporary Restraining Order

21   (“April 26 TRO”) enjoining Defendants, including Ideal Property Investments, LLC (“Ideal”),

22   from dissipating assets and from engaging in transactions outside the ordinary course of

23   business. Bender Decl., Ex. 3. In issuing the April 26 TRO, the Court found that Pacific Parties

24   had demonstrated “a clear legal or equitable right to rescission of the securities transactions

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         Defendants deny liability and reserve all defenses to the underlying claims.
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 1   with Defendants” under Washington state law. Pacific Parties and Defendants subsequently

 2   agreed to extend the April 26 TRO and continue the hearing on Pacific Parties’ Motion for

 3   Preliminary Injunction, which prior to removal was scheduled for the following upcoming date:

 4   August 30, 2024. Bender Decl. ¶9.

 5           4.       On April 17, 2024, First Fed Bank (“First Fed”) commenced an action in King

 6   County Superior Court to petition for the appointment of a general receiver over Ideal, i.e. one

 7   of the Defendants in the Pacific Parties Action. See In re Receivership of Ideal Property

 8   Investments, LLC, KCSC Cause No. 24-2-08418-5 SEA. On May 3, 2024, King County

 9   Superior Court subsequently appointed a General Receiver over Ideal. Order Appointing

10   Receiver in In re Receivership of Ideal Property Investments, LLC, Bender Decl., Ex. 4.

11           5.       By operation of law, the May 3 Order Appointing Receiver in In re Receivership

12   of Ideal Property Investments, LLC, imposed an automatic stay prohibiting any party from the

13   “commencement or continuation, including the issuance or employment of process, of a

14   judicial, administrative, or other action or proceeding against the persons over whose property

15   the Receiver is appointed…” (the “Automatic Stay”). Id. ¶ 2.a; see also RCW 7.60.110. The

16   May 3 Order Appointing Receiver made clear that the Automatic Stay was “applicable to all

17   persons” and would continue “until this receivership is terminated” unless otherwise ordered

18   by the Court. Id. ¶ 2.2

19           6.       On June 20, 2024, Pacific Parties amended their complaint in the Pacific Parties

20   Action. Bender Decl., Ex. 2. Pacific Parties’ amendment added First Fed and UniBank as

21   Defendants, alleging that, in connection with issuing several dozen small business loans to

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23   2
       On May 14, 2024, First Fed commenced a separate proceeding in King County Superior Court for the
     appointment of a general receiver over Defendant Creative Technologies LLC d/b/a “WaterStation Technology”
24   (“WST”). See In re Receivership of Creative Technologies, LLC, KCSC Cause No. 24-2-10753-3 SEA. King
     County Superior Court subsequently appointed a General Receiver over Defendant Creative Technologies d/b/a
25   “WaterStation Technology” (“WST”). Order Appointing Receiver in In re Receivership of Creative Technologies,
     LLC, Bender Decl., Ex. 5.
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 1   investors for purposes of investing in WST, the banks engaged in behavior that rendered them

 2   liable under Chapter 21.20 RCW as substantial contributors to the sale of WST’s unregistered

 3   securities. Id. ¶177. Pacific Parties also asserted various derivative common law claims such as

 4   breach of fiduciary duty and negligent misrepresentation on the theory that the bank’s behavior

 5   went far beyond the traditional lender-borrower relationship. See generally id. Because Pacific

 6   Parties’ direct claims against the banks brought into issue the enforceability of personal

 7   guaranties the banks obtained from the individuals (“Individual Guarantors”) who organized

 8   the LLCs that make up the bulk of the Pacific Parties’ group of plaintiffs, Pacific Parties also

 9   added these Individual Guarantors as plaintiffs in the Pacific Parties Action for the primary

10   purpose of seeking declaratory and injunctive relief regarding the unenforceability of the

11   aforementioned personal guaranties. Bender Decl. ¶8.

12         7.       On July 12, 2024, the Hon. Judge William Steffener of Snohomish County

13   Superior Court entered an Order consolidating 12 separate WaterStation related cases, while

14   reserving the various parties’ rights to separate trials, stating: “This order does not prejudice a

15   party’s right to move for a separate trial as permitted under CR 42.” Bender Decl., Ex. 6.

16         8.       Despite the continued existence of the Automatic Stay, on August 1, 2024, First

17   Fed, by now a Defendant in the Pacific Parties Action along with Ideal Property Investments,

18   LLC, filed a Notice of Removal in the Pacific Parties Action (“August 1 Notice of Removal”),

19   relying on the Class Action Fairness Act, 28 U.S.C. §§ 1332(d), 1453, 1711–15 (“CAFA”).

20   Dkt. 1.

21         9.       On August 6, 2024, Pacific Parties filed a Notice of Dismissal Without Prejudice

22   As to All Claims Against First Fed Defendants. Dkt. 10.

23         10.      On August 15, 2024, Pacific Parties, as agreed, filed a Notice of Dismissal

24   Without Prejudice as to All Claims Against UniBank Defendants. Dkt. 12.

25         11.      On August 16 and August 21, 2024, Pacific Parties filed Notices of Dismissal

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 1   Without Prejudice as to Certain Claimants, removing from this action the Individual Guarantors

 2   that had previously been added. Dkt. 13, Dkt. 14.

 3           12.       On August 21, 2024, Pacific Parties filed a Notice of Dismissal Without

 4   Prejudice as to All Claims Against Houk Defendants. Dkt. 15.

 5           12.       The August 1 Notice of Removal violated the Automatic Stay in In re

 6   Receivership of Ideal Property Investments, LLC, and therefore the removal attempt was void

 7   and remand is required.3

 8           13.       In addition, the plain text of CAFA’s mass action provision excludes “claims

 9   that have been consolidated or coordinated solely for pretrial proceedings,” 28 U.S.C.

10   § 1332(d)(11)(B)(ii)(IV), and Judge Steffener’s July 12 Order consolidating the cases was clear

11   it did not prejudice any party’s right to a separate trial, see Bender Decl. Ex. 6, and the moving

12   parties made clear at the consolidation hearing that the request was for pretrial proceedings

13   only. August 30, 2024 Suppl. Bender Decl., Ex. A. Moreover, the dismissal of the Individual

14   Guarantors from the Pacific Parties Action leaves 63 claimants seeking monetary relief in this

15   action, which is well below CAFA’s mandatory numerosity threshold of over 100 claimants

16   with “monetary relief claims[.]” 28 U.S.C. §§ 1332(d)(11)(A). Therefore, remand is

17   appropriate.4

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       The language of the automatic stay provision of Washington’s receivership statute, RCW 7.60.110(1)(a), is
19   virtually identical to the automatic stay under the U.S. Bankruptcy Code. 11 U.S.C. § 362(1)(a) (both statutes
     prohibit “the commencement or continuation, including the issuance or employment of process, of a judicial,
20   administration or other action or proceeding against” the debtor or person whose property the receiver was
     appointed). The May 3 Order Appointing Receiver in In re Receivership of Ideal Property Investments, LLC,
21   incorporated this same language for purposes of the Automatic Stay, and made clear that the stay extends until
     termination of the case absent further order by the court. Bender Decl., Ex. 4, ¶ 2. Interpreting such language in
22   the bankruptcy stay context, the 9th Circuit has instructed that the automatic stay prohibits removing a state case
     to federal court. Sec. Farms v. Int’l Bhd. of Teamsters, Chauffers, Warehousemen & Helpers, 124 F.3d 999, 1007
23   n.3 (9th Cir.1997) (“[A party] could not remove the state court proceeding until the bankruptcy court officially
     lifted the automatic stay.”); see also Bank of New York Mellon ex. rel. Certificateholders of CWALT, Inc. v.
24   Enchantment at Sunset Bay Condo. Ass'n, 2 F.4th 1229, 1235 (9th Cir. 2021) (“We have consistently reapplied In
     re Schwartz to affirm that any violations of the automatic stay provision are indeed void—full stop.” (citing In re
25   Schwartz, 954 F.2d 569, 571 (9th Cir. 1992)).
     4
        In addition, Pacific Parties are the alleged holders of alleged unregistered securities allegedly issued by
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 1           Now, therefore, the undersigned parties stipulate to entry of the following order

 2   remanding the above-captioned case to the Washington Superior Court for Snohomish County.

 3                                              [PROPOSED] ORDER

 4            Pursuant to the parties’ stipulation, it is so ordered. The case is remanded to the

 5   Washington Superior Court for Snohomish County. The Clerk of this Court is directed to

 6   close the case.

 7
             DATED this ___ day of _____________, 2024.
 8
 9
                                                                    Tana Lin
10                                                                  United States District Court Judge

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22   Defendants, and their claims would not exist but for the rights, duties, and obligation related to such alleged
     securities. In issuing the April 26 TRO, the Snohomish County court explicitly ruled that Plaintiffs had
23   demonstrated “a clear legal or equitable right to rescission of the securities transactions with Defendants” under
     Washington state law. Bender Decl., Ex. 3 at 2. Accordingly, this action should be exempt from removal
24   jurisdiction under CAFA because Pacific Parties’ claims “relate[] to the rights, duties (including fiduciary duties),
     and obligations related to or created by or pursuant to any securities[.]” 28 U.S.C. § 1453(d)(3); see, e.g., Eminence
25   Investors, L.L.L.P v. Bank of New York Mellon, 782 F.3d 504 (9th Cir. 2015) (applying CAFA’s securities
     exception to claims by holders of mortgage-backed securities).
                                                                                                 CORR CRONIN LLP
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 1          We certify that this memorandum contains 1,718 words, in compliance with the Local

 2   Civil Rules

 3
     STIPULATED AND PRESENTED this 30th day of August, 2024, by:
 4
      CORR CRONIN LLP                              PATRICK L. VAIL PLLC
 5

 6    s/ John T. Bender                            /s Patrick L. Vail
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      s/ Joel Ard                                  s/ John A. Bender Jr. _________________
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 1                                        CERTIFICATION

 2          Undersigned counsel hereby certifies that they have conferred with all parties

 3   telephonically and/or via e-mail prior to filing the above motion. See Declaration of Kristen F.

 4   Barnhart dated August 29, 2024, Docket 29, as well as Supplemental Declaration of John T.

 5   Bender in Support of Remand, filed herewith.

 6                        Certified and dated this 30th day of August, 2024, by

 7

 8                                                        CORR CRONIN LLP

 9                                                        s/ Kristen F. Barnhart
                                                          John T. Bender, WSBA No. 49658
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 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that on August 30, 2024, I electronically filed the foregoing document

 3   with the Clerk of the Court using the CM/ECF system, which will send notification of such

 4   filing to those attorneys of record registered on the CM/ECF system. All parties (if any) shall

 5   be served in accordance of the Federal Civil Rules of Procedure.

 6
           DATED this 30th day of August, 2024.
 7
                                                  s/ Wen Cruz
 8                                                Wen Cruz, Legal Assistant
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